     Case 4:07-cv-05944-JST Document 4953-1 Filed 10/11/16 Page 1 of 7




      MARIO N. ALIOTO, ESQ. (56433)
 1    JOSEPH M. PATANE (72202)
 2    LAUREN C. CAPURRO, ESQ. (241151)
      TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP
 3    2280 Union Street
      San Francisco, CA 94123
 4    Telephone: (415) 563-7200
      Facsimile: (415) 346-0679
 5
      E-mail: malioto@tatp.com
 6    jpatane@tatp.com
      laurenrussell@tatp.com
 7
      Lead Counsel for the
 8    Indirect Purchaser Plaintiffs
 9                                UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
12
      IN RE: CATHODE RAY TUBE (CRT)  )            Master File No. CV-07-5944 JST
13    ANTITRUST LITIGATION           )
14                                   )            MDL No. 1917
                                     )
15                                   )            DECLARATION OF JOSEPH M. FISHER
                                     )            REPORTING ON CHUNGHWA NOTICE
16                                   )
                                     )
17
                                     )
18    This document relates to:      )
                                     )
19    ALL INDIRECT PURCHASER ACTIONS )
                                     )
20                                   )
                                     )
21
22
23
24
25
26
27

28
                                             1
     Case 4:07-cv-05944-JST Document 4953-1 Filed 10/11/16 Page 2 of 7




 1           I, Joseph M. Fisher, declare:
 2           1.      Identification. I am the president of The Notice Company, Inc., a Massachusetts
 3    corporation with offices at 94 Station Street, Hingham, MA 02043 (“The Notice Company”). The
 4    Notice Company is principally engaged in the administration of class action settlements and
 5    lawsuits pending in courts around the United States, including the dissemination of notice to class
 6    members, administering the claims process, and distributing the proceeds of the litigation to the
 7    class. I have over a decade of experience assisting attorneys with class action notices and claims
 8    administration. I am also a member in good standing of the bars of the Commonwealth of
 9    Massachusetts, the District of Columbia, and the Commonwealth of Virginia. I am over 21 years
10    of age and not a party to this action.       The Notice Company is the Claims Administrator,
11    responsible for receiving and processing claims in these Settlements. I have personal knowledge
12    of the facts set forth herein and, if called as a witness, could and would testify thereto under oath.
13           2.      Purpose of Declaration.       I am reporting on the dissemination of notice in
14    connection with the Chunghwa settlement plan of allocation and the reopening of the claim
15    period for resellers as ordered by the Court its Order Granting Final Approval of Indirect
16    Purchaser Settlements, dated July 7, 2016 (the “Final Approval Order”), and its Order Approving
17    Chunghwa Forms of Notice, dated July 18, 2016 (the “Chunghwa Notice Order”).
18                                           RESELLER NOTICE

19           3.      Notice Program for Resellers. In order to reach entities that indirectly purchased
20    CRT Products for the purpose of resale (“Resellers”), The Notice Company implemented a
21    Notice Program designed to notify Resellers of the distribution of Chunghwa funds, to afford
22    Resellers the opportunity to object to the plan of distribution, and to allow Resellers to submit
23    claims for payment from the Chunghwa settlement.
24           4.      CRTclaims.com Website – Reseller Information. On July 29, 2016, the settlement
25    website, at www.CRTclaims.com, was updated to include a Detailed Notice to Resellers in the
26    form approved by the Court as shown at Exhibit A attached hereto, a Summary Notice to
27    Resellers in the form approved by the Court as shown at Exhibit B attached hereto, and a

28
                                                 2
                  DECLARATION OF JOSEPH M. FISHER REPORTING ON CHUNGHWA NOTICE
     Case 4:07-cv-05944-JST Document 4953-1 Filed 10/11/16 Page 3 of 7




 1    Reseller Claim Form in the form approved by the Court as shown at Exhibit C attached hereto.
 2    Also posted on the settlement website were Spanish-language versions of the Detailed Notice,
 3    Summary Notice and Reseller Claim Form, as shown at Exhibits D, E and F, respectively. The
 4    notices clearly inform Resellers of their right to object by September 30, 2016, to the proposed
 5    allocation of the Chunghwa settlement funds between end user and Reseller claimants. The
 6    Reseller Claim Form includes instructions to Resellers for obtaining payment from the
 7    Chunghwa Net Settlement Fund, as well as clearly stating that the claims deadline is November
 8    29, 2016.
 9           5.      Mailed Notice to Resellers. On July 29, 2016, The Notice Company sent to
10    Resellers a postcard notice in the form approved by the Court as shown at Exhibit G attached
11    hereto. The postcard notice informed Resellers of their opportunity to submit a claim, their right
12    to object to the proposed allocation of funds from the Chunghwa Settlement and provided
13    instructions if they want additional information. For purposes of this mailing, Resellers were
14    identified utilizing the North American Industry Classification System (NAICS)1 to classify
15    resellers, including entities in the retail, wholesale and manufacturing sectors. The following
16    NAICS codes were used:
17                Ø Code 443142 (Electronics Stores);
18                Ø Code 452111 (Department stores, except discount department stores);

19                Ø Code 452112 (Discount Department Stores);
20                Ø Code 452910 (Warehouse Clubs and Supercenters);
21                Ø Code 423620 (Household Appliances, Electric Housewares, and Consumer
22                   Electronics Merchant Wholesalers);
23
24
      1
        The U. S. Census Bureau explains: “The North American Industry Classification System
25    (NAICS) is the standard used by Federal statistical agencies in classifying business
      establishments for the purpose of collecting, analyzing, and publishing statistical data related to
26    the U. S. business economy. NAICS was developed under the auspices of the Office of
      Management and Budget (OMB), and adopted in 1997 to replace the Standard Industrial
27    Classification (SIC) system.” See http://www.census.gov/eos/www/naics/.
28
                                                 3
                  DECLARATION OF JOSEPH M. FISHER REPORTING ON CHUNGHWA NOTICE
     Case 4:07-cv-05944-JST Document 4953-1 Filed 10/11/16 Page 4 of 7




 1                Ø Code 423430 (Computer and Computer Peripheral Equipment and Software
 2                   Merchant Wholesalers);
 3                Ø Code 334118 (Computer Terminal and Other Computer Peripheral Equipment
 4                   Manufacturing); and
 5                Ø Code 453210 (Office Supplies and Stationery Stores).
 6    On July 19, 2016, the NAICS Association, LLC, utilizing data obtained from Hoover’s Inc.,
 7    provided to The Notice Company a list of company names and mailing addresses for each of the
 8    NAICS codes listed above. After eliminating duplicate entries, the net size of the mailing list
 9    was 89,566. Prior to mailing the postcards, all addresses for Resellers were updated utilizing
10    NCOALink data from the U.S. Postal Service.2 On July 29, 2016, postcard notices were mailed to
11    the entire mailing list. The Postal Service returned 1,445 postcards where the company’s mailing
12    address was no longer deliverable and no forwarding instructions were available; an additional
13    115 postcards were returned with updated address information. The Notice Company promptly
14    remailed the postcard notice to the updated addresses. Thus, the notice was mailed to 98.4% of
15    the entities that meet reseller classification codes identified using the NAICS.
16           6.      Notice by Email to Resellers. On August 1, 2016, an email notice in the form
17    shown as Exhibit H attached hereto was sent to the email list of Consumer Technology
18    Publishing Group (CTPG). The email notice provided the same information as contained in the

19    postcard notice, informing Resellers of their opportunity to submit a claim, their right to object to
20    the proposed allocation of funds from the Chunghwa Settlement and providing instructions if
21    they want additional information.       CTPG is a division of NAPCO Media; it publishes
22    Dealerscope magazine and offers services to consumer electronics retailers and e-tailers of all
23    sizes. CTPG’s email list includes the leading consumer electronics retailers, distributors, buyers
24    and manufacturers in the United States. There were 27,994 emails transmitted to CTPG’s email
25
26    2
         NCOALink is a secure dataset of approximately 160 million permanent change-of-address
      records consisting of the names and addresses of individuals, families and businesses who have
27    filed a change-of-address with the USPS
28
                                                 4
                  DECLARATION OF JOSEPH M. FISHER REPORTING ON CHUNGHWA NOTICE
     Case 4:07-cv-05944-JST Document 4953-1 Filed 10/11/16 Page 5 of 7




 1    list. The Notice Company achieved a 99.76% deliverability of the emails, with only 66 email
 2    addresses proving to be undeliverable.
 3           7.      Website Banner Ads Directed to Resellers. Commencing July 31, 2016, website
 4    banners in the forms attached hereto as Exhibit I were displayed on the on the TWICE website,
 5    www.Twice.com, with the banner ads linking directly to the www.CRTclaims.com settlement
 6    website. TWICE magazine is published by NewBay Media; it provides multichannel-marketing
 7    solutions targeted to resellers of consumer electronics and computers. NewBay Media reports
 8    that The Notice Company’s website banners received 180,020 impressions, which is the number
 9    of times the website banners were displayed on the TWICE website.
10           8.      Print Ad of General Circulation.      On July 31, 2016, the Summary Notice
11    substantially in the form attached hereto as Exhibit B was published in The Sunday New York
12    Times. The advertisement informed Resellers of their opportunity to submit a claim, their right to
13    object to the proposed allocation of funds from the Chunghwa Settlement, and provided
14    instructions if they want additional information. Attached hereto as Exhibit J is an Affidavit
15    from The New York Times establishing Proof of Publication.
16           9.      PR Newswire: Press Release and Social Media. On August 1, 2016, The Notice
17    Company issued the Summary Notice, in both English and Spanish, as a nationwide press release
18    utilizing the U.S. domestic news line of PR Newswire. Attached hereto as Exhibits K and L are

19    the English and Spanish versions, respectively, of the press release. PR Newswire also promoted
20    these press releases via its Twitter feed and through its Consumer Electronics blog and its
21    Computer Hardware blog. As a result, the English version of the press release was picked up by
22    232 media outlets as described in Exhibit M attached hereto, thereby exposing the press release
23    to a potential audience totaling 89,983,730. The Spanish version of the press release was picked
24    up by 128 media outlets as described in Exhibit N attached hereto, resulting in exposure to a
25    potential audience totaling 76,365,851.
26
27

28
                                                 5
                  DECLARATION OF JOSEPH M. FISHER REPORTING ON CHUNGHWA NOTICE
     Case 4:07-cv-05944-JST Document 4953-1 Filed 10/11/16 Page 6 of 7




 1                                            END-USER NOTICE
 2           10.     Notice Program for End Users. In order to inform end-user claimants of the
 3    distribution of Chunghwa funds, and to afford such end users the opportunity to object to the plan
 4    of distribution, The Notice Company provided notice as described below.
 5           11.     Email Notice to End Users. On August 1, 2016, The Notice Company directed
 6    notice by email, in the form approved by the Court as shown at Exhibit O attached hereto, to all
 7    end-user claimants or their representatives with a valid email address. The notice informs end
 8    users of the September 30, 2016 deadline for objecting to the proposed plan of distribution for the
 9    Chunghwa settlement funds. The notice also informs end users of the opportunity to submit
10    claims as a Reseller if they qualify.
11           12.     Mailed Notice to End Users. On August 1, 2016, The Notice Company directed
12    notice by regular mail, in the form approved by the Court as shown at Exhibit P attached hereto,
13    to all end-user claimants where a valid email address was not available. A total of 3,085 notices
14    were mailed on August 1, 2016. In addition, follow-up notices were sent by regular mail to those
15    claimants whose email notice had “bounced” or proved undeliverable. Since August 1, 2016, a
16    total of 1,844 follow-up notices were sent by regular mail.
17           13.     Notice to Other Interested Persons. On August 1, 2016, The Notice Company
18    directed notice by email of the proposed plan of distribution for the Chunghwa settlement,

19    substantially in the form attached hereto as Exhibit H, to a list of an additional 1,110 persons.
20    The list was comprised of persons who had previously registered at the settlement website to
21    request updates about the litigation or who had previously opted out of the end-user settlements.
22                                              OBJECTIONS
23           14.     No Objections. The Notice Company received no objections to the proposed plan
24    of distribution for the Chunghwa Settlement.
25           15.     Correspondence from Glenn Greene. The Notice Company received a “Notice”
26    from Mr. Glenn Greene, which was filed with the Court on September 13, 2016. A copy of the
27    Notice is attached hereto as Exhibit Q. Mr. Greene stated that he was not able to “view the Plan

28
                                               6
                DECLARATION OF JOSEPH M. FISHER REPORTING ON CHUNGHWA NOTICE
     Case 4:07-cv-05944-JST Document 4953-1 Filed 10/11/16 Page 7 of 7




 1    of Distribution.” According to The Notice Company’s records, Mr. Greene is an end-user
 2    claimant; in August 2015 he had submitted a claim as an end-user indirect purchaser of CRT
 3    products.    One of the Class Counsel, Joseph M. Patane, informs me that he attempted,
 4    unsuccessfully, to reach Mr. Greene by telephone and email. On September 22, 2016, I sent a
 5    letter to Mr. Greene as shown at Exhibit R attached hereto, responding to his Notice. To date I
 6    have received no reply or any further communications from Mr. Greene.
 7           I declare under penalty of perjury under the laws of the United States that the foregoing is
 8
      true and correct.
 9
             Executed at Hingham, Massachusetts, this 11th day of October, 2016.
10
11
12
                                                          ___________________________
13                                                        JOSEPH M. FISHER

14
15
16
17
18

19
20
21
22
23
24
25
26
27

28
                                                 7
                  DECLARATION OF JOSEPH M. FISHER REPORTING ON CHUNGHWA NOTICE
